                                                                          CLERK'
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                                                                                ATABINGDON,VA
                                                                                     FILED
                     IN THE UNITED STATES bISTRICT COURT                         ALs -7 2215
                    FO R TH E W E STER N DISTR ICT O F V IR G IN IA
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U N IT ED STA TES O F A M ER ICA          )       CriminalNumber:1:19-CR-00022 IJPJI
                                          )
              V.                          )       In V iolation of:
                                          )
W AQAR UL-HASSAN                          )       18U.S.C.j1001(FalseStatements)
                                          )
                                          )
                            SUPERSEDI#G IN:ORMATION
TheUnited StatesAttorney charges,atal1tim esm aterialtothisInformation:

                                       COUNT ONE

              On oraboutM ay 20,2015,within the W estem DistrictofVirginiaand elsewhere,

the defendant,W AQAR UL-HASSAN,in a matter within the jurisdiction of the executive
branch ofthe Governm eptofthe Urlited States,lcnowingly and willfully made m aterially false,

fictitious,and fraudulentstatements and representations,to wit,his statem ents to agents ofthe

FederalBureauofInvestigationthaihedidnotsupportanyterroristgroupsorextremists,anddid
notknow anyonewho wasam em berofaterroristorextremistgroup.

       A llin v




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                                       C O U N T TW O

              On or about October 16,2015, within the W estern District of Virginia and

elsewhere,the defendant,W AQAR UL-HASSAN,in a matter within thejtlrisdiction of the
executive branch of the Governm ent of the United States,knowingly and willfully m ade

materially false,tk titious,and fraudulentstatem entsand representations,to wit,hisstatem entsto

agents ofthe FederalBureau ofInvestigation thathe never tried to send m oney to Syria forISIS

and thathe neverasked anyoneaboutsending moneyto ISIS.

       Al1inviolation ofTitle 18,United StatesCode,Sections1001(a)(2).


                                                   RespectR lly submitted,

                                                   TH OM A S T.CULLEN
                                                   United StatesA ttorney



                                                   ChrisopherR. ava gh
                                                   AssistantUnited S atesAttom ey




U SA O -2019R 00177

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